Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page1of7

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
In re: CASE NO.: 22-17842-PDR
VITAL PHARMACEUTICALS, INC., et al., Chapter: 11

Debtors,
/

UNOPPOSED MOTION OF JOSEPH M. THOMAS, JR., FOR
RELIEF FROM THE AUTOMATIC STAY AND PLAN INJUNCTION

Movant, JOSEPH M. THOMAS, JR., by his undersigned attorneys, moves this Court for
an Order Granting Relief from the Automatic Stay, pursuant to Section 362 and Local Rule 4001-
1(c), to permit him to liquidate his personal injury claim against Debtor-in-possession, VITAL
PHARMACEUTICALS, INC., in State Court, up to the maximum amount provided by insurance
and in support thereof, this Motion states:

1. Pursuant to Local Bankruptcy Rule 4001-1(C): Requests for Relief On Negative
Notice:

Any interested party who fails to file and serve a written response to this

motion within 14 days after the date of service stated in this motion shall,

pursuant to Local Rule 4001-1(C), be deemed to have consented to the entry

of an order granting the relief requested in the motion.

2. On a date prior to the filing of the bankruptcy petition, Debtor-in-possession,
VITAL PHARMACEUTICALS, INC.’s, employee negligently operated a vehicle while he was
within the course and scope of his employment with Debtor-in-possession, VITAL
PHARMACEUTICALS, INC., said vehicle was also owned by Debtor-in-possession, VITAL
PHARMACEUTICALS, INC.

3, As a_ result, the vehicle owned by Debtor-in-possession, VITAL

PHARMACEUTICALS, INC., collided into Movant, JOSEPH M. THOMAS, JR., which caused

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Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page 2of7

CASE NO.: 22-17842-PDR
Page 2

Movant, JOSEPH M. THOMAS, JR., to suffer bodily injury and resulting pain and suffering,
disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of
hospitalization, medical and nursing care and treatment, and aggravation of a previously existing
condition. The losses are either permanent or continuing, and Movant, JOSEPH M. THOMAS,
JR., will continue to suffer losses in the future.

3. Consequently, Movant, JOSEPH M. THOMAS, JR.., filed a personal injury lawsuit
(negligence action) against Debtor-in-possession, VITAL PHARMACEUTICALS, INC.

4. Thereafter, Debtor-in-possession, VITAL PHARMACEUTICALS, INC., filed a
petition for relief under Chapter 11 of the Bankruptcy Code in this Court.

5. As a consequence, Movant, JOSEPH M. THOMAS, JR., is a Creditor of the
Bankruptcy Estate, with an unliquidated claim.

6. At the time of the accident, Debtor-in-possession, VITAL PHARMACEUTICALS,
INC., maintained a policy of insurance that contains coverage for bodily injury liability.

7. Movant, JOSEPH M. THOMAS, JR., desires to continue prosecuting a pending
civil action against Debtor-in-possession, VITAL PHARMACEUTICALS, INC., in State Court,
for the purpose of liquidating his claim.

8. However, if Movant, JOSEPH M. THOMAS, JR., obtains a recovery or judgment
against Debtor-in-possession, VITAL PHARMACEUTICALS, INC., then Movant, JOSEPH M.
THOMAS, JR., will seek to enforce it solely against the proceeds of insurance and will not seek
to enforce the recovery or judgment against Debtor-in-possession, VITAL
PHARMACEUTICALS, INC.’s, property or property of the estate.

9. Accordingly, Movant, JOSEPH M. THOMAS, JR., requests that this Court enter

an order granting relief from the automatic stay, pursuant to Section 362(d)(1) of the United States

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Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page 3of7

CASE NO.: 22-17842-PDR
Page 3

Bankruptcy Code and Local Rule 4001-1(c), to proceed with litigation against Debtor-in-
possession, VITAL PHARMACEUTICALS, INC., in the State Court Action, only to the extent of
any and all available and applicable insurance coverage and to negotiate any possible settlement
of the claim (See attached Exhibit “A” - Proposed Order).

10. Granting stay relief will not prejudice nor impact the estate or the other creditors in
any significant way.

WHEREFORE, Movant, JOSEPH M. THOMAS, JR., prays that the Court will grant his
Motion for Relief from the Automatic Stay in the manner requested and for whatever additional
relief that this Honorable Court deems just and proper.

Dated this 14" day of October, 2024.

MARC A. KAUFMAN & ASSOCIATES

Attorneys for Movant

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Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page4of7

CASE NO.: 22-17842-PDR
Page 4

CERTIFICATE OF COMPLIANCE AND SERVICE

I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court
for the Southern District of Florida and I am in compliance with the additional qualifications to
practice in this Court set forth in Local Rule 2091-1(a) and that on this 14th day of October, 2024,
a true and correct copy of the foregoing was filed with the Clerk of the Court and served via
CM/ECF electronic notice to those parties registered to receive electronic notices and/or U.S. Mail
to the parties listed on the Service List.

By: s/Marc A. Kaufman
MARC A. KAUFMAN, ESQUIRE

SERVICE LIST

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Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page5of7

EXHIBIT “A”
Proposed Order

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
FORT LAUDERDALE DIVISION
In re: CASE NO.: 22-17842-PDR
VITAL PHARMACEUTICALS, INC., et al., Chapter: 11

Debtors,
/

ORDER GRANTING JOSEPH M. THOMAS, JR.,
RELIEF FROM THE AUTOMATIC STAY

THIS CAUSE having come before the Court on Joseph M. Thomas, Jr., foregoing
Unopposed Motion for Relief from the Automatic Stay and Plan Injunction (the “Motion:) [D.E.
], and the Court having considered same and being otherwise fully advised in the premises, it
is hereupon

ORDERED AND ADJUDGED as follows:

1. The Motion is hereby GRANTED, subject to the following limitations.

2. That by the entry of this proposed Order, the Plan Injunction is hereby modified for

the limited purpose, and solely to the extent necessary, to permit Joseph M. Thomas, Jr, to reinstate
Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page 6of7

CASE NO.: 22-17842-PDR
Page 2

the Personal Injury Action in the State Court to pursue recovery for and liquidate his claim, if any,
against the Debtors’ insurance company; provided that, (i) Joseph M. Thomas, Jr. may only seek
to recover on any judgment or settlement with respect to the claim solely from available and
applicable insurance proceeds, if any, (ii) Joseph M. Thomas, Jr. waives any and all claims to any
recovery from the Liquidating Trust or the Debtors in the Chapter 11 Cases or otherwise, and (iii)
Joseph M. Thomas, Jr. is barred from propounding discovery from the Liquidating Trust or the
Debtors in connection with the Personal Injury Action. To the extent Defense Counsel requests the
cooperation of the Liquidating Trust with respect to discovery served by Joseph M. Thomas, Jr. or
a co-defendant, the Liquidating Trustee has full and absolute discretion to cooperate with or reject
such request, and any cooperation may be subject to full reimbursement of the Liquidating Trust’s
expenses incurred related to such cooperation by Joseph M. Thomas, Jr., as applicable; provided,
however, that neither the Liquidating Trust nor the Debtors shall be obligated to cooperate with
any discovery request from any party related to the Joseph M. Thomas, Jr. Proceeding.

3. Joseph M. Thomas, Jr. shall not directly or indirectly (i) seek to collect any
judgment or settlement arising from, or related to the claim from the Liquidating Trust, the Debtors
or their estates and/or any assets or property of the Liquidating Trust, the Debtors or their estates
(as defined in section 541 of the Bankruptcy Code), or (ii) seek to compel any of the Debtors to
pay any deductible, self- insured retention, retainage, or any other amount for or on account of any
insurance carrier, provider, broker, or policy.

A. Further, Joseph M. Thomas, Jr. shall not be entitled to file or assert a general

unsecured claim under Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) 3002

or any other applicable sections of the Bankruptcy Rules or Bankruptcy Code, if any, nor shall

Joseph M. Thomas, Jr. be entitled to file or assert an administrative or priority claim under section
Case 22-17842-PDR Doc 2702 Filed 10/14/24 Page /7of7

CASE NO.: 22-17842-PDR
Page 3

503 or 507 or any other applicable sections of the Bankruptcy Code, if any, against any of the

Debtors in the Chapter 11 Cases, the deadline for asserting any such claims having expired.

Submitted by:

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Attorneys for Movant

Copy furnished to Attorney Kaufman, who shall serve a conformed copy of this Order on all
interested parties and file a certificate of service thereon.
